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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 22-cv-14102-DMM

    DONALD J. TRUMP,

           Plaintiff,

    v.

    HILLARY R. CLINTON, et al.,

          Defendants.
   ________________________________________/

    NOTICE OF MOTION TO WITHDRAW APPEARANCE OF ROBERTA A. KAPLAN
     AS COUNSEL FOR DEFENDANTS DEMOCRATIC NATIONAL COMMITTEE,
      DNC SERVICES CORPORATION, AND DEBORAH WASSERMAN SCHULTZ

          Pursuant to Local Rule 11.1(d)(3)(A), Roberta A. Kaplan respectfully requests that the

   Court withdraw her appearance as counsel for Defendants Democratic National Committee, DNC

   Services Corporation, and Deborah Wasserman Schultz (ECF Nos. 127 & 129). As of July 8, 2024,

   Ms. Kaplan is no longer a member of Kaplan Hecker & Fink LLP (now known as Hecker Fink

   LLP). In connection with the withdrawal, the Clerk is requested to remove Ms. Kaplan’s name

   from the docket and service list.

          Defendants Democratic National Committee, DNC Services Corporation, and Deborah

   Wasserman Schultz will continue to be represented by Shawn G. Crowley and Maximillian

   Feldman of Hecker Fink LLP, 350 5th Avenue, 63rd Floor, New York, NY 10118. Accordingly,

   Defendants Democratic National Committee, DNC Services Corporation, and Deborah

   Wasserman Schultz will not be prejudiced by my withdrawal and have consented to this

   application.
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   Dated: August 13, 2024            Respectfully Submitted,

                                     /s/ Gerald E. Greenberg
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                                     Debbie Wasserman Schultz




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